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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                  )
                                          )
v.                                        )
                                          )                 Criminal No. 24-10352-JEK
REBECCA FADANELLI,                        )
                                          )
                                          )
                     Defendant            )
                                          )
__________________________________________)




                REPORT IN LIEU OF INITIAL STATUS CONFERENCE
                      PURSUANT TO LOCAL RULE 116.5(a)

                                        January 2, 2025


       Defendant is charged in an indictment with four counts of Illegally Importing Merchandise

and Aiding and Abetting, in violation of 18 U.S.C. §§ 545 and 2; two counts of Selling/Dispensing

Counterfeit Drugs, in violation of 21 U.S.C. §§ 331(i)(3) and 333(b)(8); and two counts of

Selling/Dispensing Counterfeit Devices, in violation of 21 U.S.C. §§ 331(fff)(3) and 333(b)(8).

Defendant was arraigned by videoconference on November 25, 2024. I scheduled an initial status

conference for January 6, 2025, in Worcester; however, prior thereto the parties filed a joint

memorandum which obviates the need for the conference. Accordingly, I cancel the initial status

conference and report as follows.

       Local Rule 116.5(a)(1) through (4)

       The United States produced automatic discovery on December 23, 2024, which counsel

downloaded on December 30. Discovery is voluminous, comprising 12 gigabytes of data. The



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United States is arranging delivery of a hard drive containing data extracted from devices seized

during the investigation of this case. The parties are also in discussions regarding discovery related

to a confidential source and an order protecting certain discovery. There are no pending discovery

requests. Defendant needs time to review discovery.

       Local Rule 116.5(a)(5)

       Defendant shall report at the interim status conference whether she intends to file pretrial

motions pursuant to Fed. R. Crim. P. 12(b).

       Local Rule 116.5(a)(6)

       The parties shall address expert disclosures at the interim status conference.

       Local Rule 116.5(a)(7)

       The Court has excluded the period from November 25, 2024 (the date of Defendant’s

arraignment), through January 6, 2025 (the date of the Initial Status Conference). The parties

propose that the period from January 6, 2025, through the Interim Status Conference that I have

set, at the request of the parties, for Thursday, March 6, 2025 should be excluded under the interest

of justice provision of the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A). I will allow that request

and enter a separate written order. It appears that four days (from the November 1, 2024 filing of

the indictment to the arraignment) are chargeable against the statutory speedy trial clock. See

Order of Excludable Delay entered on this date.

       Local Rule 116.5(a)(8)

       An Interim Status Conference will take place in this case on Thursday, March 6, 2025, at

9:30 a.m., in Courtroom #16, Fifth Floor, Moakley U.S. Courthouse, 1 Courthouse Way, Boston,

Massachusetts. Counsel shall appear by telephone and shall contact my Courtroom Clerk Dawn




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King, (508.929.9905 or Dawn_King@mad.uscourts.gov) before the conference and provide a

landline telephone number at which counsel can be reached.


                                                  / s / David H. Hennessy
                                                  David H. Hennessy
                                                  United States Magistrate Judge




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